                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )            No. 3:12-00044
                                                  )            JUDGE CAMPBELL
LACY BRIAN WHITFIELD                              )

                                              ORDER

       The Court held a Pretrial Conference in this case on October 6, 2014. During the Pretrial

Conference, the Court ordered that, on or before October 17, 2014: (1) the parties shall file a

proposed summary of the Indictment; (2) the Government shall provide the Defendant with a

copy of the summaries it intends to introduce at trial, along with identification of the material

upon which the summaries are based; (3) the parties shall file proposed forfeiture jury

instructions, or briefs on the issue of whether a jury trial is required on the forfeiture charge; and

(4) the Defendant shall provide the Government with reciprocal discovery.

       It is so ORDERED.



                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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